        Case 19-16737-amc              Doc 11 Filed 11/07/19 Entered 11/08/19 00:57:01                               Desc Imaged
                                            Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 19-16737-jkf
Tamara C. Miller                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: John                         Page 1 of 1                          Date Rcvd: Nov 05, 2019
                                      Form ID: pdf900                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 07, 2019.
db             +Tamara C. Miller,   908 Green Street,   Norristown, PA 19401-3914
               +Bridgeport Family Practice,   attn: Payroll controller,   700 Dekalb Street,
                 Bridgeport, PA 19405-1173

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: usapae.bankruptcynotices@usdoj.gov Nov 06 2019 03:26:35     U.S. Attorney Office,
                 c/o Virginia Powel, Esq.,   Room 1250,   615 Chestnut Street,   Philadelphia, PA 19106-4404
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 07, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 5, 2019 at the address(es) listed below:
              DAVID B. SPITOFSKY    on behalf of Debtor Tamara C. Miller spitofskybk@verizon.net,
               spitofskylaw@verizon.net
              SCOTT F. WATERMAN (Chapter 13)    ECFMail@ReadingCh13.com, ecf_frpa@trustee13.com
              United States Trustee    USTPRegion03.PH.ECF@usdoj.gov
                                                                                             TOTAL: 3
Case 19-16737-amc   Doc 11 Filed 11/07/19 Entered 11/08/19 00:57:01   Desc Imaged
                         Certificate of Notice Page 2 of 2


                         UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    IN RE:                       :    CHAPTER 13
                                 :
    TAMARA C. MILLER             :
                                 :
               DEBTOR            :    NO. 19-16737 (JKF)

              ORDER DIRECTING EMPLOYER TO MAKE WAGE DEDUCTION
                     FOR REMITTANCE TO STANDING TRUSTEE
    To Debtor's Employer:     Bridgeport Family Practice

    Re: Tamara C. Miller
    SSN: XXX-XX-7024

         The future earnings of the above-named debtor are subject to
    the continuing supervision and control of the Court for the
    purpose of enforcing and carrying out the debtor's plan.
         IT IS HEREBY ORDERED that the employer of the debtor shall
    deduct from the wages of the debtor, beginning with the next pay
    period after receipt of this Order the sum of:
                      $762.92 per pay period.

         The employer shall continue these deductions until further
    Order of this Court and shall remit all monies withheld from the
    debtor's wages at least monthly to the standing trustee whose name
    and address appear below.

         During the continuance of this proceeding the wages of the
    debtor shall be subject to the exclusive control of the Court,
    shall be exempt from garnishment or attachments issuing from any
    state court, nor shall the employer honor levies on the debtor's
    wages from the collection of any state or federal taxes.




                                       ___________________________
Date: November 5, 2019                 HONORABLE JEAN K. FITZSIMON
                                       U.S. BANKRUPTCY JUDGE

    Make check payable to Scott F. Waterman, Trustee
    Mail payment to: P.O. Box 680, Memphis, TN 38101-0680
    Always put Bankruptcy Case Number 19-16737 on all payments.
    Debtor's Counsel                  Debtor's Employer
    David B. Spitofsky, Esq.          Bridgeport Family Practice
    516 Swede Street                  700 Dekalb Street
    Norristown, PA 19401              Bridgeport, PA 19405
